
By the Court.—Freedman, J.
The covenant for quiet enjoyment contained in the leáse means only that the tenants shall not be evicted by a paramount title. It relates only to the title, and not to the actual possession or undisturbed enjoyment, where there is no eviction from the premises demised.
Nor is there any actual or implied contract or warranty on the part of the plaintiffs in this case, that the premises demised shall be or continue fit for the purposes of defendants’ business. . The clause contained in the lease, which requires the premises to be used in the business of importers and manufacturers of *429and dealers in cloaks and manillas, or for any business not more hazardous, as respects fire, than the business specifically mentioned, cannot be construed into any such implied contract or warranty (Howard v. Doolittle, 3 Duer, 464; Doupe v. Genin, 1 Sweeny, 29 ; affirmed, 45 N. Y. 119).
Myers v. Burns, 35 N. 7. 269, is not an authority for the proposition that it should be so construed. In the last mentioned case the landlord had leased the premises “asa first class hotel,” and had covenanted “ to keep the said hotel and premises in good necessary repair during the term, at his own proper charge and expense.”
To defeat plaintiffs’ action, therefore, defendants had either to prove an eviction, or to bring themselves within the provisions of the act of 1860, and before the verdict rendered against them pursuant to the direction of the court can be upheld, it must appear clearly that he failed to do either. The defendants had the affirmative of the issue. There being no conflict of evidence, when they rested their proofs, all presumptions and inferences which they would have had a right to ask the jury to draw in their favor from the facts proven, if the case had been submitted to the jury, are to be conceded to them.
The adjudications of this State, bearing upon the general subject of interference by landlords with tenants, may be assorted into three distinct and entirely different classes of cases, the remedy for each class being peculiar to it, viz :
I. Cases where the tenant is evicted without the willful or voluntary agency of the landlord, from the whole or some part of the demised premises; as, for example, an eviction of the tenant by title paramount of a contiguous proprietor. Here, if the eviction is from the whole premises, the tenant is not chargeable with rent; but if it be from a part of the premises, the *430law, in its inability to impute blame to the landlord for the act of another person, requires the rent to be apportioned, so that the tenant shall be liable to pay for such portions of the premises as he retains (Moffat v. Strong, 9 Bosw, 57; and see Mark v. Patchin, 29 How. Pr. 20).
II. Cases where the landlord commits an act or acts of trespass, which interfere, more or less, with the beneficial enjoyment of the premises, but which leave the demised premises intact, and do not deprive the tenant of any part of them, so that, though he may be injured, he is not thereby dispossessed. Here the rule is, inasmuch as the wrongful act of the landlord stops short of depriving the tenant of any portion of the premises, that such trespass is no defense against the liability for rent, and the tenant’s sole remedy therefor is an action for 'damages against the wrongdoer (Edgerton v. Paige, 20 N. Y. 283; Lounsbery v. Snyder, 31 Id. 514; Cram v. Prosser, 2 Sandf. 120; Mortimer v. Bruno, 6 Bosw. 653 ; Peck v. Hiler, 31 Barb. 117).
III. Cases where the landlord enters willfully upon and expels the tenant, actually or constructively, from a part of the demised premises. Here the rule is, that the whole rent is suspended during the term, though the tenant continue in possession of the residue (Cristopher v. Austin, 1 Kern. 217 ; Peck v. Hiler, 24 Barb. 178).
« Ho eviction, actual or constructive, within the decision of any of these cases, has been proved in the case at bar. The right of William C. Rhinelander, the owner of the lot adjoining the premises in question on the north, so to improve and build upon his own lot, as to shut up the windows in the north wall of the premises demised to the defendants, there being no question of ancient lights, cannot be disputed ; and as the lease contains no covenant against it, the closing up of said windows by Rhinelander cannot be tortured *431into an eviction, actual or constructive, of the defendants from the whole or any part of the demised premises. Even had the plaintiffs themselves owned Bhinelander’s lot and built on such land in such a manner as to obstruct and darken the windows in the premises demised, such act, even if it were a ground for damages, would not have operated as an eviction (Palmer v. Wetmore, 2 Sandf. 316; Parker v. Foote, 19 Wend. 309; Meyers v. Gemmel, 10 Barb. 537).
Hot having shown an eviction independently of the act of 1860, the next inquiry'is whether defendants have brought themselves within the provisions and purview of that act. How, it is true that the literal reading of the statute is that if a building, without any fault or neglect on the part of the lessee, be destroyed, or be so injured as to be untenantable and unfit for occupancy, the lessee shall not be liable to pay rent after such destruction or injury, unless otherwise expressly agreed, and may quit and surrender the possession. The defendants claim the benefit of such literal reading, and insist that the statute should be so construed as to mean that, whenever the demised premises become untenantable and unfit for occupancy, that constitutes an eviction of the lessee, suspending the right of the landlord to rent so long as it lasts ;' and that, in addition to this, the lessee may quit and surrender and thus absolutely annul the lease; that he has this option, but is not bound to exercise it. But as such literal interpretation would lead to the absurd consequence, in case of the destruction or unfitness of only a comparatively small part of the demised premises, of continuing the lessee in the enjoyment and occupation of the premises, and yet absolving him from all rent, it cannot be adopted. As laws must necessarily deal in generals, and cannot descend to particulars, and as the interpretation of them is the application of them to particular cases, and as the presumption is against an absurd *432intent, whenever the words, taken in their ordinary sense, would lead to such a consequence, it is the.duty and province of the court to so far restrict their meaning as to avoid such a consequence. Eomat says upon this point: “Whenever it happens that the sense of a law, how clear soever it may appear in'the words, would lead us to false consequences, and to decisions that would be unjust, if the law were indifferently applied to everything that is contained within the expression, the palpable injustice that would follow from this apparent sense, obliges us to discover by some kind of interpretation, not what the law says, but what it means, and to judge by its meaning, how far it ought to be extended, and what are the bounds that ought to be set to its sense.’ ’ The interpretation here referred to is to be guided again by certain well established rules, and one of the most prominent of these, and one which helps us most in the discovery of the true meaning of the law, is the reason of the law, or the cause which moved the legislature to enact it. This ought not to be confounded with the mind of the law; for that is nothing but the genuine meaning of it, for the finding out of which we call in the reason of it to our assistance.
Another rule is that, in case of doubt, a statute consisting of divers parts or clauses is to be judged by looking at the whole, and to be construed so as to carry out the intention of the law-making power. The whole context may be considered, in endeavoring to collect such intention, although the immediate object of the inquiry be the meaning of an isolated clause.
The reason and spirit of cases, therefore, make the law, and not the mere letter.
ISow, what was the reason for the passage of the statute in question, and the main intent of the legislature in enacting it % At the time of such passage the law was firmly settled, by a long series of adjudications in the English courts, as well as our own, that *433upon a lease, with a covenant to pay a stipulated annual rent, the rent is payable by the lessee to the end of his term, though the property be destroyed by fire, and that the lessee has no relief against an express covenant to pay the rent, either at law or in equity, unless he has protected himself by a stipulation in the lease, or the landlord has covenanted to rebuild. This rule operated so harshly in many cases that, as is well known, the legislature interfered by the passage of the act now under consideration. The act, in the absence of a written agreement or covenant to the contrary, reverses the prior rule of law, and affords relief not only against fire, but against the elements generally, and any other cause, by which the building may be so far injured as to be untenantable and unfit for occupancy. But it makes no apportionment or division of the building, or of its destruction, untenantableness or unfitness. Consequently, so long as the lessee remains in possession and use of a part of the building, it is conclusive evidence as against him that it has not been destroyed, and that it is not untenantable or unfit for occupancy within the meaning of the act.
In order to give due weight and effect to these various considerations, which have been noticed, it must be taken to have been the true intention of the legislature to absolve the lessee, in cases contemplated •by the statute, from the payment of rent, provided he avails himself of the privilege given to quit and surrender possession of the leasehold premises arid of the land so leased or occupied. The reason and purpose of the law and the nature of the grievance it was designed to remedy forbid us, as the respondents have correctly argued, to construe the two clauses of the statute independent of each other, or to give the lessee the benefit of the relief from the rent except upon the condition of his quitting and surrendering the possession.
It remains, therefore, to be considered whether the *434defendants have quitted and surrendered such possession.
According to the evidence the defendants forwarded the key of the outer door to the store on the first story to the plaintiffs by express, and at the same time, September 30, 1869, advised plaintiffs of it by letter through the post office." Plaintiffs acknowledged the receipt of the letter under date of October 2, 1869, and absolutely refused to accept any surrender of the premises, or the key, upon the ground that the premises were not untenantable, and that, if they were, it was the fault of the defendants in consequence of their persistent refusal to allow the building to be protected against the consequence of the excavation on the adjoining lot. Plaintiffs also notified defendants that they, the defendants, would be held liable for all rent to accrue under the lease. If the surrender was complete in fact and sufficient in law, the reasons assigned by plaintiffs for their refusal to accept it are wholly immaterial. If incomplete and insufficient, defendants were not relieved by any of the grounds upon which plaintiffs based their refusal, or the manner of such refusal, from the necessity of" making an effectual surrender. The evidence further showed that the defendants had executed a written lease for the whole unexpired term of their own lease to one Fischer of the fourth and part of the third story of the building in question; that under this sublease, Fischer had entered into possession and was engaged in the manufacture of tassels and fringes upon said premises, and employed fifteen or twenty people in that business ; that at the time of defendants’ removal from the building, they left Fischer behind in the occupation of the parts leased to him, and that he remained in the occupation and full enjoyment of those parts for a month or two after the first day of October, 1869. It also appeared that defendants took no proceedings what*435ever to remove Fischer ; that the key sent by them by express was only the key of the store; that the entrance to the upper stories, occupied by Fischer, was by a separate outer door and stairway on Broadway, to which there was another and different key, and that no offer of this key was made to the plaintiffs. As Fischer’s title was good against the plaintiffs, and Ms continued occupation constituted, in judgment of law, possession by the defendants, the surrender made by the latter of the key of the store, leaving Fischer in possession, of the upper part of the building, was no surrender in law or in fact of the possession of the leasehold premises, and of the land covered by their lease within the meaning of the act of 1860. The defendants, therefore, continued liable on their covenant to pay the rent.
As a necessary corollary, defendants’ offer to prove that Fischer agreed to go out with the defendants, that pursuant to an arrangement made with him he had no longer any right to continue the occupation, and that they declined to receive rent from. Mm after their own ■ removal, were properly excluded as immaterial. ISTo agreement, understanding, or dealings between them and Fischer could amount to a quitting and surrender of the possession, so long as Fischer remained actually in, and so long as his possession was their possession and not the plaintiffs’.
The views so far expressed render it unnecessary to inquire whether or not the defendants were precluded by their refusal to allow the building to be shored up from invoking the benefit of the act of 1860.
The denial of defendants’ motion, at the trial, for leave to amend the answer by the insertion of a defense of fraud by plaintiffs in the procurement of defendants’ execution of the lease in question, was a matter not only resting in the sound discretion of the court, but perfectly proper under the circumstances. *436A motion for leave to set up a new and separate defense and to raise an entirely new issue, the granting of which would operate as a surprise upon the plaintiff, should never be allowed at the trial.
The judgment and order appealed from should be severally affirmed, with- costs.
Curtis and Sedgwick, JJ., concurred.
